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coNNIB DAlLEY, )
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Prainciff. )
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vs. ) N°, ramoss
)
HsHs MEDICAL GRouP, )
)
Defendant. )
com_m,,gm

QUNT 1 -Vio!g@n gf Mé
NOW COMES Plaintilf, Cormie Dailey, by her atwmeys, Bruntorr Law Oches, P.C., and

for Count l of her Cnmplaint against Defendam, HSHS Medieal Gmup states:
l. Connie Dailey was an employee of l-lSHS Medical Group at its business located

in the city ofO'Falkm. St.. Clair County, lllinois.

2. Cormie Dailey exeeeised her rights by requesting leave under the Family Medieal
have Act fi'orr\ HSHS Medieal Gmup

3. HSHS Medieal Group has more than 50 employeea.

4. Connie Dailey was qualified for benefits under the Family Medieal Leeve Ar:t..

29 U.S.C. 2614, et. aeq. due to her medical eondition(s).
5. Sup~ervisors at HSHS Medieal Gmup infonned Dailey that she could take off
workusingFMLAleaveand,infaet,Daileyexerc‘mdherrights by takingoffonFMLAleave.
6. Aflaec missing work due to her medical condition and after requesting FMLA
leave. Dailey was harassed and eventually discharged from herjob at HSHS Medieal Group

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7. Prior to her termination Dailey was performing her job according to her
employer’s legitimate ¢Xpectations.
8. Connie Dailey’s discharge from her employment with HSHS Medieal Gronp is

casually related to her request for Family Medicai Leave Act benefits.

9. HSHS Medical Group discharged Connie Dailey in violation of the Family
Medical Lea.ve Act. 29 U.S.C. 2614, e!. seq.

10. As a result of the HSHS Medical Gmup‘s violation of the Family Medical Leave
Act, Cornrie Dailey should be awarded compensatory damages for past and fixture lost earnings
and benefits.

l i. As a result ofHSHS Medical Group‘s violation of the I-`amily Medical Leave Act,
Connie Dailey should be awarded compensatory damages for severe emotional trauma.

12. As a result ofHSHS Medical Group’s violation of the Family Medical Leave Act,
Connie Dailey is entitled to an award of reasonable attorney fees and costs.

13. As a result of HSHS Medical Group‘s violation of the Farnily Medical l..eave Act,
Connie Dailey should be awarded all incidental and consequential damages

14. As a result ofHSHS Medical Group's violation of the Farnily Medical Leave Act,
Connie Dailey should be awarded liquidated damages

WHEREFORE, Plaintiti} Connie Dailey, prays for judgment in an amount that exceeds
$50,00[|.00 plus costs of this action, and for any other relief as this Court may deem just and proper.

QQNT ll - VQI§§QL 91 gm jDisabili!n

NOW COMES Plaintill`, Connie Dailey, (hereina.fter referred to as “Dailey”) by her

undersigned attorneys Brunton Law Ol'iices, P.C., and for Count ll of her Complaint against

Defendant, HSHS Medical Group, states:

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l. Dailey was employed by HSHS Medical Group located in the city of O'Fallon, in
St. Clair County, lllinois.

2. At all relevant times, Dailey was qualified for her position and was able to perform
essential iimcticns of herjob.

3. HSHS Medical Group, at all relevant times, had more than 50 employees

4. Dailey sustained various injuries during her employment with HSHS Medical
Group, which were significant and required her to take FMLA leave.

5. Dailey had a disability and Dailey was a“qualitied individual with a disability” and
Dailey was perceived to have a disability within the meaning of 'l`itle l of the Americans with
Disabilities Act, 42 U.S.C. §l 21 l 1(2) and (8) because of the aforementioned injuries that required
her to obtain FML.A leave from HSHS Mcdical Group.

6. HSHS Medical Group discriminated against Dailey, compared to any similarly
situated class of employees at HSHS Medical Group, because of her disability, and!or the
perception that Dailey had a disability, in violation of the Americans with Disabilities Act of 1990,
as amendcd, 42 U.S.C. §§ 12101, er. req.

7. Dailey was subjected to discrimination, harassment and a hostile work environment
because of her disability, and!or the perception that Dailey had a disability, in violation of the
Americans with Disabilities Act of 1990.

8. Dailey was terminated as a result of her disability, and/or the perception that Dailey
had a disability, in violation of the American with Disabilities Act of 1990.

9. Dailey filed a charge of discrimination with the EEOC. A copy of the charge is

attached and incorporated by reference as Exhibit “A”.

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10. Dailey received a Notice of Right to Sue li'om the EEOC. A copy of the Notice is
attached and incorporated as Exhibit “B".

l 1. Dailey filed this action within ninety (90) days ofthe receipt of the Notice of Right
to Sue Lettcr.

12. As a result of the discrimination, harassrnent, and hostile work environment by
HSHS Medical Group, Dailey suf"'l`ered, and in the future will continue to suffer, emotional distress,
mental anguish, pain and suffering and inconvenience

13. As a result of the discrimination, harassment, and hostile work environment by
HSHS Medical Group, Dailey was caused to lose wages and fringe benefits and she is entitled to
recover for this loan.

l4. As a result of the discrimination, harassment, and hostile work environment by
HSHS Medical Group, Dailey will lose fixture earnings and future fringe benefits and she is entitled
to recover for this loss.

15. ln addition, Dailey is entitled to reasonable attorney fees and costs and all other
afiinnative relief as this court deems appropriate

16. In addition, Dailey is timber entitled to pre-judgment interest to compensate her for
the loss of wages during the period preceding any final judgment Dailey is further entitled to
post-judgment interest from the date of judgment to the date that any judgth is paid by HSHS
Medical Group

l7. In addition, HSHS Medical Group, through its managers, had knowledge that it
may have been acting in violation of federal law andfor HSHS Medical Group approved or ratified

the acts of discrimination and thus, Dailey is entitled to punitive damages.

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WHEREFORE, Plaintifi`, Connie Dailey, prays for judgment in an arnotmt that exceeds

$50,000.00 plus costs of this action, and for any other relief as this Court may deemjust and proper.

 

NOW COMES Plaintiff`, Connie Dailey, (hereinafler referred to as “Dailey”) by her
undersigned attorneys, Brunton law Offices, P.C., and for Cormt ill of her Complaint against
Defendant, HSHS Medical G'roup, states:

l-7. For paragraphs one (l) through seven (7) of Count III, Plaintifi` realleges and
incorporates paragraphs one (l) through seven (1) ochunt ll as though fully alleged herein

8. Dailey reported the discriminatory harassment and hostile work environment
because of her disability, and!orthe perception that Dailey had a disability, to supervisors at HSHS
Medical Group

9. Dailey was terminated and had other adverse employment actions in retaliation for
reporting the discrimination harassment, and hostile work environment because of her disability,
and/or the perception that Dailey had a disability, in violation of the Americans with Disabilities
Act of 1990, as amended, 42 U.S.C. §§ 12101, er. seq.

10. Dailey filed a charge of` discrimination with the EEOC. A copy of the charge is
attached and incorporated by reference as Exhibit “A".

ll. Dailey received a Notice of Right to Sue from the EEOC. A copy of the Notice is
attached and incorporated as Exhibit “B”.

12. Dailey filed this action within ninety (90) days ofthe receipt ofthe Notice ofRight

to Sue Letter.

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13. As a result of the retaliatory termination and adverse employment actions by HSHS
Medical Gnoup, Dailey sufi`ered, and in the future will continue to suffer, emotional distress,
mental anguish, pain and suffering and inconvenience

14. As a result ofthe retaliatory termination and adverse employth actions by HSHS
Medical Group, Dailey was catcsed to lose wages and fringe benefits and she is entitled to recover
for this loss.

lS. As a result of the retaliatory termination and adverse employment actions by HSHS
Medical Group, Dailey will lose fixture earnings and future fringe benefits and she is entitled to
recover for this loss.

16. ln addition, Dailey is entitled to reasonable attorney fees and costs and all other
affirmative relief as this court deems appropriate

l?. In addition, Dailey is farther entitled to pre-judgment interest to compensate her for
the loss of wages during the period preceding any final judgment Dailey is timber entitled to
post-judgment interest from the date of judgment to the date that any judgment is paid by HSHS
Medical Group -

18. ln addition, HSHS Medicai Group, through its managers. had knowledge that it
may have been acting in violation of federal law and/or HSHS Medical Group approved or ratified
the acts of discrimination and thus, Dailey is entitled to punitive damages

WHEREFORE, Plaintiff, Connie Dailey. prays for judgment in an amount that exceeds

$50,000.00 plus costs of this action, and for any other relief as this Court may deernjust and proper.

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QQQB]: !! - Vig_lgtion of ll'IRA |Mill_t!]

NOW COMES Plaintiff, Connie Dailey, (hereinaftcr referred to as “Dailey") by her
undersigned attorneys, Brunton Law Oflices, l"'.C.1 and for Count lV of her Complaint against
Def`endant1 HSHS Medical Group, states:

l. Dailey was employed by HSHS Mcdical Group located in the city of O’Fallon, in
St. Clair County, lllinois.

2. At all relevant times, Dailey was qualified for her position and was able to perform
essential functions of her job.

3. HSHS Medical Group, at all relevant times, had more than 15 employees

4. Dailey sustained various injuries during her employment with HSHS Medical
Group, which were significant and required her to take FMLA leavc.

5. Dailey had a handicap andlor history of a disability and Dailey was perceived as
having a handicap, within the meaning of the lllinois Hurnan Rights Aet, 775 ILCS 5!1-101 et
seq. as a result ofthe aforementioned injuries that required FMLA leave.

6. HSHS Medical Group discriminated against Dailey, compared to any similarly
situated class of employees at HSHS Mcdical Group, because of her handicap andfor history of
her disability and/or perception of her having a handicap, in violation of the lllinois Hurnan Rights
Act, 775 ILCS 5/1-10| er. seq.

7. Daileywas subjected to discrimination harassmentandahostile workenvironrnent
because ofher handicap and/or history of herdisability andlor perception of her having a handicap,

in violation of lllinois Human Rights Act, 775 ILCS Sll -IOl et. seq.

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3. Dailey was terminated as a result of her handicap andfor history of her disability
and/or perception of her having a handicap in violation of the Illinois Human Rights Act, 775 ILCS
Sr'l-lfll et. seq.

9. Dailey filed a charge of discrimination with the EEOC and lDHR. A copy of` the
charge is attached and incorporated by reference as Exhibit “A".

lO. Dailey received a Notice of Disrniscal and Order of Closure from the lDl-lR. A
copy of the Notice of Dismissal and Order of` Closure is attached and incorporated as Exhibit “C”.

ll. Dailey filed this action within ninety (90) days of the receipt of the Notice of
Dismissal and Order of'Closure.

12. As a result of the discrimination harassment, and hostile work environment by
HSHS Modical Group, Dailey suff`ered, and in the future will continue to suffer, emotional distress,
mental anguish, pain and suffering and inconvenience

13. As a result of the discrimination harassment, and hostile work environment by
HSHS Medical Group, Dailey was caused to lose wages and hinge benefits and she is entitled to
recover for this loss.

14. As a result of the discrimination harassment, and hostile work environment by
HSHS Medical Group, Dailey will lose future earnings and future fringe benefits and she is entitled
to recover for this loss.

l$. ln addition, Dailey is entitled to reasonable attorney fees and costs and all other
affirmative relief as this court deems appropriate

16. ln addition. Dailey is timber entitled to pre-judgment interest to compensate her for

the loss of wages during the period preceding any final judgment Dailey is further entitled to

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post-judgment interest from the date of judgment to the date that any judgment is paid by HSHS
Mcdical Group

17. ln addition, HSHS Medical Group, through its managers, had knowledge that it
may have been acting in violation of law andlor HSHS Medieal Group approved or ratified the
acts of discrimination and thus, Dailey is entitled to punitive and/or liquidated damages, if
recoverable by the IHRA.

WHEREFORE, Plaintiff, Connie Dailey, prays for judgment in an amount that exceeds

$50,000.00 plus costs of this action, and for any other relief as this Court may deemjust and proper.

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NOW COMES Plaintif'f. Connie Dailey, (hereinafter referred to as “Dailey“) by her
undersigned attomeys, Brunton l..aw Ofiices, P.C., and for Count V of her Complaint against
Dcf`cndant, HSHS Medical Group, states:

l-7. For paragraphs one (l) through seven (7) of Count V, Plaintiff realleges and
incorporates paragraphs one (l) through seven (7) ofCount IV as though firlly alleged herein.

8. Dailey reported the discrimination harassment and hostile work environment
because of her handicap and/or history of disability and/or perception of her handicap, as a result
of her aforementioned injuries that required FMLA leave, to supervisors at HSHS Medical Group

9. Dailey was terminated and had other adverse employment actions in retaliation for
reporting the discrimination harassment. and hostile work environment because of her handicap
andfor history of disability andlor perception of her handicap as a result of her injuries that required
FMLA leave, in violation of the lllinois Human Rights Act, 775 ILCS 5)‘1-|01 e!. seq.

10. Dailey filed a charge of discrimination with the EEOC and IDHR. A copy of the

charge is attached and incorporated by reference as Exhibit “A".

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ll. Dailey received a Notice of Dismissal and Orrler of Closure li'om the lDHR. A
copy of the Notice is attached and incorporated as Ex|ribit “C”.

12. Dailey filed this action within ninety (90) days of the receipt of the Notice of
Dismissal and Order' of Closure.

13. As a result ofthe retaliatory termination and adverse employment actions by HSHS
Medical Group, Dailey suffered, and in the future will continue to suffer, emotional distress,
mental anguile pain and suffering and inconvenience

14. As a result of the retaliatory termination and adverse employment actions by HSHS
Medieal Group, Dailey was caused to lose wages and fringe benefits and she is entitled to recover
for this loss.

lS. As a result of the retaliatory termination and adverse employment actions by HSHS
Medical Group, Dailey will lose lirture earnings and future fringe benefits and she is entitled to
recover for this loss.

16. in addition, Dailey is entitled to reasonable attorney fees and costs and all other
aflirmal:ive relief as this court deems appropriate

l?. ln addition, Dailey is further entitled to pre-judgment interest to compensate her for
the loss of wages during the period preceding any final judgment. Dailey is further entitled to
post-judgment interest li'om the date of judgment to the date that any judgment is paid by HSHS
Medical Group

18. ln addition, HSHS Medical Group, through its msnagers, had knowledge that it
may have been acting in violation of law andlor HSHS Medical Group approved or ratified the
acts of discrimination and thus, Dailey is entitled to punitive andfor liquidated damages, if

recoverable by the ll-IRA.

10

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WHE.R.EFORE, Plaintili`, Connie Dailey, prays for judgment in an amount that exceeds

$50,000.00 plus costs of this action, and for any other relief as this Court may deemjust and proper.

BRUNTON LAW OFFICE, P.C.

lsi Mic|_'rgl §, §runtgg
Michael .I. Brunton. #6206663
Mary M. Stewart, #6200773
819 Vandalia (HWY 159)
Collinsville, l[. 62234
(618) 343-0750
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Raee discrimination & gregg tion:

Connie Dailey was an employee with HSHS Medieal Group
Connie Dailey’s race is Caucasian.

Connie Dailey’s color is white.

Connie Dailey was able to perform all essential timotioos ofherjob.

ConnieDaHeywasnrbjeetedwahosd|eworkmvhommLhamssmmnandmssrbjmtdw
discrimirrationwhile wridngforHSl-IS Medical Groupbecanseofherrace.

Connie Dailey was subjected to a hostile work environment harassment, and was subjected to
discrimination while working for HSHS Medical Group because of her coior.

Connie Dailey reported the hostile work environment harassth and discrimination because of
berraceandlorbwauseofhercolorto hersupervisors.

Connie Dailey was subjected to adverse employment actions and was terminated in retaliation

for reporting hostile work environment harassment and discrimination because of her race and
color. .

QtlrE
connie Dailey had her FMLA rights visited by HSHS Medi¢n Gmp.

Connie Dailey was subjected to adverse employment actions and was terminated in retaliation
for requesting benefits under the FMLA.

Connie Dailey reported illegal activities to supervisors at HSHS Medical Group.

Connie Dailey was subjected to a hostile work environment and harassment while working for
HSHS Medical Group because of her reports of illegal activities

Connie Dailey was subjected to adverse employment actions and was terminated in retaliation
forreporting the illegal activities at HSHS Medical Group.

 

 

  

 

 

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Connie S. Dailey Fr°m= St. Louls District Otfice

7 Bolle Crest 1222 Spruco Street

Belletriilel lL 62221 Room B.1llli

Saint Louis, MO 63103
|:] onwaawpamtrs} aggaavsdnnoso marilyn
coNFroENnAL cFR room a
tc Charge No. EEOC Representative _ Telephone No.
Walter H. i-larrls, iil,

1-2017-00679 investigator (314) 539-7938

 

E EEOC lS CLOS|NG lTS FlLE ON THiS CHARGE FOR THE FOLLOW|NG REASON:
The facts alleged |n the charge fail to state a claim under any of the statutes enforced by the EEOC.

¥our allegations did not lnvolve a disability as defined by the Arnericans With Disabilitiee Act.
The Respondent employs less than the required number of employees orie not otherwise covered by the statutes
Your charge was not timely filed with EEOC: |n other words. you waited too long alter the date(e} of the staged

discrimination to lite your diarge

Tha EEOC issues the following detenntnation: Based upon its |nvestigallon. the EEOC is unable to conclude that the
termination obtained establishes violations of lite statutes This does not codify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be oonstnred as having been raised by title charga.

The EEOC has adopted the findings of the state or local fair employment practices agency that Investigated this charge.

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rcrimlnation_ in Ernployment Act: This will be the only notice of dismissal and of your right to sue that we will send you.

u may tile a lawsuit against the respondent(s) under federal law based on this charge in federal or state courl. Your

rsuit must be filed LITHlN 90 DA¥S of your receipt of this notice; or your right to sue based on this charge will be /

.t. (The time limit for filing suit based on a claim under state law may be different.) \L?_

gual Pay Act {EPA]: EPA suits must be filed ln.federa| or stale court within 2 years (3 years for willful violations) of the
aged EPA underpayment. Thie means that b pay due for any violation at occurred more than 2 years 13 y_eag]
dore you file suit may not be eolloctibie.

    

 

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z Penny L. McCarty Shavaun Adams Taylor Mlehae| J. Brunton

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HSHS MEDICAL GROUP _ _REATH 319 Val‘ldalia (Hwy. 159}

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Sprlngfleld, lL 62704 Suite 3700
' Chicago, lL 60606-1693

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STATE OF lLLlNOlS

DEPARTMENT OF HUMAN RiGHTS
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connie s. oAlLEY. §
COMPLA|NANT. )
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AND ) CHARGE NO. 2017SR3549
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HSHS MED|GAL GROUPl l
)
RESPONDENT. ) ‘
CE 0 DISMISSAL FOR CK BSTAN11 EV|DE E
D DE CL U E
Michae| _Brunton _ Penny L. McCarty
Brunton Law Oflice. P.C. Chlef People Oiiicer
819 Vandafia (HWY 159) HSHS MEDICAL GROUP
Colllnsvihe, illinois 62234 3051 Hol|ls Drive

Springfield. lllinois 62704

care o‘F olsutssAL: January 11. 2019

1. YOU ARE HEREBY NOTlFIED that the Deparlment has not received a timely request to
review the EEOC determination of no cause. a copy of which is enclosed Baeed upon the
enclosed .detennlnation. the DEPARTMENT OF HUMAN R|GHTS (DHR) finds that there is NOT
substantial evidence to support the allegations of the charge{s). Acccrdingly, pursuant to Seclion
7A-102(A-1)(3)(a) of the Human Rights Act (775 |LCS 511-101 et. seq.) and its Ruiee and
Regulalions (56 tI|. Adm. Code. 'Chapter ||l Secticn 2520.560). the charge is HEREBY
DlSMfSSED and CLOSED.

2. Complainant may commence a civil action against Respondent_in the appropriate state
circuit court or other appropriate court of competent jurisdiction within ninety (90) daye after
receipt of this 'Notlce. A complaint should be filed In the circuit court in the county where the civil
rights violation was allegedly committed lfyou intend to exhaust your State remadlec, please
notify the Equal Ernpicyment Opportunity Commiesion (EEOC) immediately: EEOC. 500
West Madieon Street, Suite 2000, Chicago. illinois 60861.

Flease note that the Department cannot provide any legal advice or aestetance. Flease
contact legal ccunsei, your city clerk. or your county clerk with any questione.

3. Complainant is hereby notified that the charge(s) are dismissed with prejudice with no
righl‘lo further proceed fla timely written complaint is not filed with the appropriate circuit court.

DEPARTMENT OF HUMAN RIGHTS

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